         Case 1:10-cr-00419-DAD Document 52 Filed 12/07/10 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KATHLEEN A. SERVATIUS
     Assistant U.S. Attorney
 3   Robert E. Coyle United States Courthouse
     2500 Tulare Street, Room 4-401
 4   Fresno, California 93721
     Telephone: (559) 497-4077
 5
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )                   1:10-cr-419 LJO
                                    )
12                   Plaintiff,     )                   ORDER ON SECOND STATE OF
                                    )                   CALIFORNIA WRIT FOR HABAES CORPUS
13                                  )                   AD PROSEQUENDUM
                               v.   )
14                                  )
                                    )
15   ROBERTO MARTIN MENDOZA         )
     BALLARDO,                      )
16     aka MARTIN MENDOZA BALLARDO, )
                                    )
17                   Defendants.    )
                                    )
18
19          The Honorable Ann Q. Ameral, Superior Court Judge for the State of California, County of
20   Stanislaus, has requested that the body of the above-named defendant be produced on January 13,
21   2011, at 8:30 a.m., in Stanislaus County Superior Court, Juvenile Dependency Department 15, for
22   proceedings in the case involving the Mendoza-Corona Minors, Case No. 515883/515884. The
23   defendant is currently in the custody of the United States Marshal, charged in the above-entitled
24   action. It appearing that the defendant’s presence is needed in the state action, and that the next
25   court appearance in the above-entitled case will not be affected by the requested appearance;
26          IT IS HEREBY ORDERED that deputies of the Stanislaus County Sheriff’s Office may take
27   custody of the defendant on January 13, 2011 for purposes of transporting him on that date to the
28   Stanislaus County Superior Court, Department 15, Juvenile Delinquency, located at 800 11th Street,



                                                        1
         Case 1:10-cr-00419-DAD Document 52 Filed 12/07/10 Page 2 of 2


 1   Modesto, California and return him to the custody of the United States Marshal no later than 4:30
 2   p.m on January 13, 2011.
 3
              IT IS SO ORDERED.
 4
     Dated:     December 6, 2010                    /s/ Lawrence J. O'Neill
 5   b9ed48                                     UNITED STATES DISTRICT JUDGE
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                      2
